
Pratt, J.,
(dissenting).—This is an appeal from a decree-of the surrogate of Rockland admitting to probate the will of Edward D. Hesdra.
The learned surrogate has written an able opinion, reviewing at length the evidence and giving strong reasons for the decision he has rendered, and the counsel upon both sides have fully discussed the facts and circumstances of the case, so that in the view we take of the case a further discussion of the facts seems necessary.
It is a case involving such a multitude of facts, and the-credibility and motives of so many witnesses, that it ought to be submitted to the determination of a jury.
The rule is that the proponents of a will in order to secure its probate must make satisfactory and convincing proof of the factum of the alleged will, and if the proof comes short of conviction, the paper offered may not be admitted to probate.
If the matter is left in doubt it is proper to send the case to a jury for investigation.
We are not unmindful that there are many facts indicating a due execution of this will, yet, taking all the evidence into consideration, while we are not convinced to the contrary, we cannot say the question is not left somewhat, in doubt and uncertainty. Much of the testimony is such that the appearance and manner of the witnesses upon the stand becomes an important factor in considering questions-of credibility ; and although the surrogate had this opportunity, yet the verdict of a jury might be more instructive to the conscience of the court than the finding of the surrogate.
It is not necessary, in this view of the case, to examine-the rulings of the surrogate upon the trial or discuss the questions of law raised by the respective counsel.
Decree reversed, and trial ordered at circuit before a jury upon issues to be framed.
